         Case 3:12-cr-01848-JAH                        Document 132                   Filed 09/18/13               PageID.690            Page 1 of 4
                                                                                                                                    FILED
     'AO 245B (CASD) (Rev. 1112)    Judgment in a Criminal Case
                Sheet I                                                                                                             SEP 1 8 2013
                                                                                                                          I~     c,,'" J ~ _u,,, 1,,',-I \..UU~"
                                               UNITED STATES DISTRICT COURT L,'~XEH~ CISTf\lCT OF Ci\LI6~tl~+~
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                         v.                                           (For Otfenses Committed On or After November 1, 1987)

                                 John Allen -4                                        Case Number: 12-cr-0l848-JAH-4
                                                                                      Cynthia L. Ignatuk
                                                                                      Defendant's Attomey
     REGISTRATION NO. 36654298

     o
     THE DEFENDANT:
     ~ ~e~~~il~~oo~~~~O~n=e~o=f~ili=e~~=d=~=~~m=t=.~~~~~~~~~~~~~~~~~~~~~~~~~~~
     o after
       wufu~dg~~Moo~~~i_~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
             a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                          Nature of Offense                                                                             Number(s)
18:371; 18:981 and 982;                Conspiracy to Commit Wire Fraud and Money Laundering                                                  I
28:246 I (c)




        The detendant is sentenced as provid~ in pages 2 through                  4         ofthis judgment. The sentence is impos~ pursuant
 to the Sentencing Reform Act of 19l54.
 o    The defendant has been found not guilty on count(s)

                                                             ---------------------------------------------
 ~ Count(S)___re_m;....a....in.;.;i....:ng::..-_ _~_~_ _~_~~~_ _~_is 0       are~                           dismissed on the motion ofthe United States.
 Igj Assessment: $) 00.00.


 I8J No fine                                        0 Forfeiture pursuant to order filed                                        , included herein.
       IT IS ORDERED that the defendant shall notiry the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                            I2-cr-0l848-JAH-4
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AO 245B (CASD) (Rev. 1112) Judgment in a Criminal Case
           Sheet 2 -- Imprisonment

                                                                                            Judgment   Page    2      of      4
 DEFENDANT: John Allen -4
 CASE NUMBER: l2-cr-0l848-JAH-4
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned tor a term of
         One year and one day.



    o Sentence imposed pursuant to Title USC Section
                                                 8            1326(b).
    181 The court makes the following recommendations to the Bureau of Prisons:
         The recommends custody be served in the Western Region.




     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                    Da.m.    0 p.m.       on
                as notified by the United States Marshal.

     181 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          181 before 1114/13 @ 2:00 PM or to the US Marshal.
          181 as notified by the United States Marshal.
          181 as notified by the Probation or Pretrial Services Office.

                                                              RETURN
  I have executed this judgment as follows:

         Defendant delivered on                                                  to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy ofthis judgment.


                                                                                           UNlTED STATES MARSHAL


                                                                     By
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                   l2-cr-OI848-JAH-4
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AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
           Sheet 3  Supervised Release
                                                                                                               Judgment Page    - L - of _ _4.;...._ _
DEFENDANT: John Allen -4                                                                               D
CASE NUMBER: ll-cr-Ot848-JAH-4
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Three years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall r~frai~ from any unlawful use ofa ~on:rolled
substance. The defendant shall submit to one drug test within 15 days ofrelease from Impnsonment and at least two penodlc drug ~ests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month dUring
the term of supervision, unless otherwise ordered by court.

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shaH cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).                                                         .
        The defendant shall comply with llie requirements of the Sex Offender Registration ani:! Notification Act (42 U.S.C. § 16901, et seq.) as duected
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted ofa qualifYing offense. (Check ifapplicable.)
D       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
 any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shal1 work regularly at a lawful occupation, unless excused by the probation officer fur schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shal1 permit confiscation of any
          contraband observed in plain view of the probation officer;
  II)     the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permISSIon of the court; and
  13)     as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

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                   Sileet 4   Speeial Conditions
                                                                                                       Judgment~-Page   - L - of _....;;4~_ _
       DEFENDANT: John Allen -4                                                                  o
       CASE NUMBER: 12-cr-01848-JAH-4




                                               SPECIAL CONDITIONS OF SUPERVISION
I8l Submit person, residence, office or vehicle to a ~~rch, conducted by a U~ited States ~rob~tion Officer ?~ a reasonable tin;e and in a .
    reasonable manner, based upon reasonable suspIcion of contraband or eVidence of a vIOlation of a condItIon of release; faIlure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D                    24
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
D Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substanee without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by thc probation officer, based on the defendant's ability to pay.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
I8l Provide complete disclosure of personal and business financial records to the probation officer as requested.
D
D Complete 100 hours of community service in a program approved by the probation officer.
D Resolve all outstanding warrants within        days.
D Complete          hours of community service in a program approved by the probation officer within
D Complete a residential drug treatment program as directed by the Probation Officer.
I8l Not engage in the employment of profession involving loan processing or modification services, home mortgages, real estate, or any
    employment or profession involving fiduciary responsibilities


D




                                                                                                                                12-cr-01848-JAH-4
